Case 1:22-cv-23946-KMM Document 16 Entered on FLSD Docket 04/11/2023 Page 1 of 1



                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA


 ALEJANDRO ESPINOZA,                                     CASE NO. 1:22-cv-23946-KMM
      Plaintiff,

 vs.

 WEST MARINE PRODUCTS, INC.,
 Florida for Profit Corporation
        Defendant,
 ____________________________________________/
       JOINT NOTICE/STIPULATION OF VOLUNTARY DISMISSAL WITH PREJUDICE

         Plaintiff, ALEJANDRO ESPINOZA, through undersigned attorney Diego G. Mendez and
 Richard J Adams, pursuant to the Federal Rules Civil Procedure 41(a)(1)(ii) files this Joint
 Notice/Stipulation of Voluntary Dismissal with Prejudice against Defendant, WEST MARINE
 PRODUCTS, INC. All claims and counter claims by all parties are hereby dismissed with prejudice
 by stipulation. Each party shall bear their own attorney fees and costs.



 Submitted by:

 Mendez Law Offices, PLLC                                Ogletree Deakins
 Attorneys for Plaintiff                                 Attorney for Defendant
 P.O. BOX 228630                                         100 North Tampa Street
 Miami, Florida 33172                                    Suite 3600
 Telephone: 305.264.9090                                 Tampa, FL 33602
 Facsimile: 1-305.809.8474                               813-221-7249
 Email:info@mendezlawoffices.com                         Email: gretchen.lehman@ogletree.com
 By:            /s/                                      By:______/s/__________________.
 DIEGO GERMAN MENDEZ, ESQ.                               GRETCHEN LEHMAN
 FL BAR NO.: 52748                                       FL BAR NO.: 46365

 Adams & Associates, P.A.
 Attorneys for Plaintiff
 6500 Cowpen Road, Suite 101
 Miami Lakes, FL 33014
 Telephone: 305-824-9800
 Facsimile: 305-824-3868
 Email: radamslaw@bellsouth.net
 By:            /s/
 RICHARD J. ADAMS, ESQ
 FL BAR NO.: 770434
                                              ###
